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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                    LAFAYETTE DIVISION

   JUSTIN CORMIER, Individually and On Behalf of             Case No. 6:15-cv-02076-PJH
   Others Similarly Situated,
                                                             Collective Action 29 U.S.C. § 216(b)

   v.                                                        Chief Judge S. Maurice Hicks, Jr.

   TURNKEY CLEANING SERVICES, LLC;                           Magistrate Judge Patrick J. Hanna
   TURNKEY CLEANING SERVICES GOM, LLC;
   DALE P. MARTIN, JR..; and SCOTTSDALE
   INSURANCE CO.



                   JOINT MOTION AND INCORPORATED MEMORANDUM
                TO APPROVE CONFIDENTIAL SETTLEMENT AGREEMENT

   A.      SUMMARY.

           Justin Cormier, on behalf of himself and others similarly situated, (collectively “Plaintiffs”)

   and Turnkey Cleaning Services, LLC, Turnkey Cleaning Services GOM, LLC, Dale P. Martin, Jr.., and

   Scottsdale Insurance Co. (collectively “Defendants”) have reached a settlement with respect to this

   Fair Labor Standards Act (FLSA) case. This settlement follows more than three years’ worth of

   adversarial litigation, discovery, and negotiation. During the pendency of this case, the employer

   defendants (Turnkey Cleaning Services, LLC, Turnkey Cleaning Services GOM, LLC, and Dale P.

   Martin, Jr.) were deeply impacted by the downturn in the oil-and-gas market. More than one year ago,

   the Turnkey entities ceased operations altogether. While Scottsdale Insurance Co. remains a financially

   viable defendant, it only has liability if coverage under the applicable policy is established. Scottsdale

   has denied indemnity coverage under the relevant policy and strongly disputes that the policy provides

   indemnity coverage for Plaintiffs’ claim in this case. Nonetheless, the parties have negotiated a

   settlement that, if approved, will provide meaningful relief to the covered workers.
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           On October 2, 2018, Plaintiffs and Defendants (collectively the “Parties”) filed a Joint Motion

   for Leave of Court to File Confidential Settlement Agreement Under Seal [Rec. Doc. 210]. On

   October 3, 2018, this Court entered an Order granting the Parties’ Joint Motion for Leave of Court

   to File Confidential Settlement Agreement Under Seal [Rec. Doc. 211]. Pursuant to that Order, the

   Parties filed their Confidential Settlement Agreement under seal for review and approval in camera. See

   Rec. Doc. 215.

           The Parties jointly request that the Court approve the Confidential Settlement Agreement as

   a reasonable compromise in accordance with Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350,

   1352-53 (11th Cir. 1982) (citing Brooklyn Savings Bank v. O’Neil, 324 U.S. 697 (1945) (requiring court

   or Department of Labor approval for FLSA settlements and explaining the standard for judicial review

   when the parties are represented by counsel)).

   B.      ARGUMENT & AUTHORITIES

           1.       The Parties have agreed upon formal settlement terms.

           The Parties negotiated and executed the Confidential Settlement Agreement, which has been

   submitted to this Court under seal. Under the Confidential Settlement Agreement, one-half of each

   Plaintiff ’s individual settlement amount will be characterized as wages and the other half as liquidated

   damages and interest for tax-withholding and reporting purposes. The settlement amounts have been

   allocated to each Plaintiff based upon their time worked. In exchange, Plaintiffs will release their wage-

   and-hour claims (including their FLSA and other statutory claims) and claims for insurance coverage,

   but nothing else, as more fully set forth in the Confidential Settlement Agreement.

           2.       The settlement represents a reasonable compromise of this litigation.

           This Confidential Settlement Agreement provides Plaintiffs with recovery for a percentage of

   their alleged unpaid overtime wages, which is commensurate with the disputed nature of Plaintiffs’

   claims. Defendants dispute Plaintiffs’ claims as to liability and amount. Further, the employer



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   defendants are effectively judgment proof. Turnkey Cleaning Services, LLC and Turnkey Cleaning

   Services GOM, LLC ceased all operations long ago. Dale Martin, Jr. has little in the way of individual,

   attachable assets.

           The remaining defendant, Scottsdale Insurance Co., may be liable only if the policy it issued

   provides “coverage for the FLSA wage and hour claims brought by the Plaintiffs herein.” See Rec.

   Doc. 191 at 1. As the Court is well aware, Scottsdale Insurance Co. has vigorously contested this issue

   throughout this litigation. Therefore, even beyond the risks on the merits of the underlying case, a

   loss on the issue of insurance coverage could effectively reduce the potential for recovery to zero.

           All Parties are represented by experienced counsel. Class Counsel have served as lead counsel

   in numerous large-scale wage-and-hour class/collective actions. See, e.g., Roussell v. Brinker Int’l, Inc., 09-

   20561, 2011 WL 4067171 (5th Cir. Sept. 14, 2011) (affirming jury verdict in FLSA collective action);

   Belt v. EmCare, Inc., 444 F.3d 403 (5th Cir. 2006) (affirming summary judgment in favor of a nationwide

   class of FLSA plaintiffs). Defense Counsel are also experienced in complex litigation, including large-

   scale wage-and-hour class and collective actions. See, e.g., City of Walker v. Louisiana through Dep’t of

   Transp. & Dev., 877 F.3d 563 (5th Cir. 2017); In re Katrina Canal Breaches Litig., 696 F.3d 436 (5th Cir.

   2012); Safety Nat’l Cas. Corp. v. Certain Underwriters at Lloyd’s, London, 587 F.3d 714 (5th Cir. 2009) (en

   banc) [ADD OTHER CASES]. Because the Parties are represented by experienced counsel, the Court

   may rely upon their judgment as to the benefits of settlement in relation to the risks of litigation and

   trial. See Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977).

           The Parties and their respective counsel agree that the Confidential Settlement Agreement is

   a fair and reasonable compromise of the claims alleged by Plaintiffs given the procedural posture of

   the case, the litigation risks, the substantial risk of non-recovery, and the litigation costs to all Parties.

   The Parties have engaged in arm’s-length and extended settlement negotiations, including a five-hour

   settlement conference with Judge Whitehurst (who has extensive experience with FLSA cases



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   originating in the oilfield). When the Parties failed to resolve the case at the settlement conference,

   they continued adversarial litigation until an acceptable settlement could be reached. Because the

   settlement is a fair and reasonable compromise and adequately compensates the participants for the

   unpaid overtime hours alleged by Plaintiffs, the Parties seek entry of the submitted Order Approving

   Settlement. The Confidential Settlement Agreement is a fair and reasonable resolution of a bona fide

   dispute.

              The Fifth Circuit has set out six factors for evaluating settlement proposals: (1) whether the

   settlement was a product of fraud or collusion; (2) the complexity, expense, and likely duration of the

   litigation; (3) the stage of the proceedings and the amount of discovery completed; (4) the factual and

   legal obstacles to prevailing on the merits; (5) the possible range of recovery and the certainty of

   damages; and (6) the respective opinions of the participants, including class counsel, class

   representative, and the absent class members. Parker v. Anderson, 667 F.2d 1204, 1209 (5th Cir. 1982).

              First, the settlement is a product of extended settlement negotiations among the Parties,

   including an unsuccessful settlement conference with Judge Whitehurst and significant follow-up work

   with the mediator. The Parties continued to negotiate settlement during motion practice. There was

   no fraud or collusion by any participant.

              In addition, as detailed further below regarding factors 2 through 5, this case was settled after

   more than two and a half years of work by the Parties and their counsel. Before settlement, the Parties

   worked together tirelessly to resolve various complex, disputed issues, such as class certification. See

   Rec. Docs. 1-208. If the case were not settled, there would be extensive work to come, including

   resolution of pending dispositive motions (and likely submission of additional dispositive motions),

   propounding and responding to discovery to and from Defendants and Plaintiffs, depositions,

   associated discovery disputes, and questions regarding applicability of the FLSA, good faith and

   willfulness, decertification, and (of course) insurance coverage. These issues are in addition to the



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   hours worked by Plaintiffs before settlement. The Parties have engaged in significant work and

   recognize and appreciate the risks in proceeding with litigation in the absence of settlement. The

   Parties (and Plaintiffs in particular) recognize that this settlement represents a compromise of the

   range and certainty of Plaintiffs’ alleged damages.

            Finally, as reflected by his signature on the Confidential Settlement Agreement, class

   representative Cormier believes the settlement is in the best interests of the Opt-in Plaintiffs.

            3.       Attorneys’ fees and litigation expenses are reasonable.

            The Confidential Settlement Agreement provides for Class Counsel to receive an agreed-upon

   amount of attorneys’ fees with no additional attorneys’ fees to be awarded by the Court. In reviewing

   the amount of attorneys’ fees set forth in the Confidential Settlement Agreement, this Court may

   begin its analysis by looking at contingent attorneys’ fee awarded in other courts, particularly in the

   Fifth Circuit. The Fifth Circuit recognizes that contingency fees are desirable because they are

   predictable, encourage settlement, and reduce incentives for protracted litigation. See Union Asset Mgmt.

   v. Dell, Inc., 669 F.3d 632, 643-44 (5th Cir. 2012) (“[D]istrict courts in this Circuit regularly use the

   percentage method blended with a Johnson reasonableness check, and for some it is the ‘preferred

   method.’”).

            Within the Fifth Circuit, customary contingency fees for class funds have ranged from 33.33%

   to 50%. See, e.g., In re Bayou Sorrell Class Action, No. 6:04-cv-1101, 2006 WL 3230771 (W.D. La. Oct. 31,

   2006) (Haik, C.J.) (awarding, under a percentage/Johnson analysis, attorney fees of 36%). In FLSA

   cases, such as this one,1 the “customary contingency” in the Fifth Circuit is within the range of 35%




   1 Other types of actions may involve concerns not present in an FLSA matter such as this case. For example, Rule 23 class
   actions have unique procedural rules that do not apply to an FLSA case and notably bind nonparticipating class members,
   while an FLSA action requires an affirmative decision by putative class members to opt-in. Likewise, this case does not
   invoke the unique concerns involved in a maritime injury, where the court must be mindful of its role in protecting a ward
   of admiralty.


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   to 40%.2 See Vela v. City of Houston, 276 F.3d 659, 681 (5th Cir. 2001). Indeed, this Court just recently

   approved an FLSA contingency-fee arrangement of 40%, finding it to be fair and reasonable in light

   of the customary contingency-fee arrangements in this community. See Legros v. Mud Control Equip.,

   Co., No. 15-1082, 2017 WL 925730, at *3 (W.D. La. Mar. 6, 2017) (Doherty, J.) (approving attorney

   fees to Cormier’s counsel); see also Comeaux v. Quality Energy Servs., Inc., No. 6:15-cv-02510-RGJ-PJH,

   ECF No. 78 (W.D. La. Jul. 20, 2017) (James, J.) (approving attorney fees of 40% to Cormier’s counsel

   in another court in this District).

            In evaluating a contingency-fee award, the Court may look at the factors set forth in Johnson v.

   Georgia Highway Express, Inc., 488 F.2d 714, 717-20 (5th Cir. 1974). The Johnson factors include the

   following of import in this case: (1) the time and labor required; (2) the novelty and difficulty of the

   questions posed; (3) the skill requisite to perform the legal service properly; (4) the preclusion of other

   employment by the attorney due to acceptance of the case; (5) the customary fee; (6) whether the fee

   is fixed or contingent; (7) the time limitations imposed by the client or the circumstances; (8) the

   amount involved and the results obtained; (9) the experience, reputation, and ability of the attorneys;

   and (10) awards in similar cases.

            Regarding the time and efforts required of Class Counsel (factors 1 and 7), this matter has

   been pending for over three years. During this time, Class Counsel have responded to and prepared a

   number of motions, conducted discovery, participated in motion practice, attended a settlement

   conference, and negotiated resolution. This work represents a significant devotion of time to reach a

   resolution of this case. Indeed, Class Counsel are recovering less than the value of their time spent

   on this matter, calculated on a lodestar basis.




   2The Fifth Circuit noted that this range was the customary fee for cases “against the government,” but Class Counsel do
   not believe this distinction to be material.


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           Second, the separately negotiated and agreed contingency fee in the Professional Services

   Agreement between Plaintiffs and Class Counsel (factors 5, 6, and 10) provides for a contingency fee

   of 40% of the gross settlement amount, which is in line with Fifth Circuit precedent. E.g., Vela v. City

   of Houston, 276 F.3d 659, 681 (5th Cir. 2001); see also Matthews v. Priority Energy Servs., LLC, No.

   6:15CV448, 2018 WL 1939327, at *1 (E.D. Tex. Apr. 20, 2018), adopted by No. 6:15CV448, 2018 WL

   2193030 (E.D. Tex. May 11, 2018) (approving attorneys’ fees of 40% to Cormier’s counsel); Legros v.

   Mud Control Equip., Co., No. 15-1082, 2017 WL 925730, at *3 (W.D. La. Mar. 6, 2017) (Doherty, J.);

   Comeaux v. Quality Energy Servs., Inc., No. 6:15-cv-02510-RGJ-PJH, ECF No. 78 (W.D. La. July 20, 2017)

   (James, J.) (same).

           “Further, class counsel’s skill, knowledge, reputation and experience is well-recognized in

   FLSA cases such as this.” Daniels v. Prod. Mgmt. Indus., LLC, No. 6:15-CV-02567, 2018 WL 1954352,

   at *4 (W.D. La. Apr. 20, 2018), adopted by No. 6:15-CV-02567, 2018 WL 2107798 (W.D. La. May 3,

   2018) (discussing Cormier’s counsel). Class Counsel’s skill, knowledge, reputation, and experience

   (factors 2, 3, and 9) are demonstrated by a history of success in large-scale wage-and-hour litigation.

   See, e.g., Roussell v. Brinker Int’l, Inc., 09-20561, 2011 WL 4067171 (5th Cir. Sept. 14, 2011) (affirming

   jury verdict in FLSA collective action); Belt v. EmCare, Inc., 444 F.3d 403 (5th Cir. 2006) (affirming

   summary judgment in favor of a nationwide class of FLSA plaintiffs). FLSA collective action cases,

   such as this one, are the main focus of Class Counsel’s docket. Although Class Counsel are based in

   Texas, both BRUCKNER BURCH PLLC and JOSEPHSON DUNLAP LAW FIRM have a national docket of

   FLSA cases with litigation across the United States, not only in Texas, but also in California, Colorado,

   Illinois, Louisiana, New Mexico, Ohio, Oklahoma, Pennsylvania, South Dakota, Utah, and elsewhere.

   In recent years, Class Counsel’s joint docket has carried around or over 200 cases involving collective

   action claims for oilfield workers, such as this case.




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           Class Counsel’s experience has caused them to review and become familiar with a large body

   of documents and information concerning FLSA litigation, which benefits cases such as this one and

   maximizes the settlement value of the case. Class Counsel’s experience in this field has also resulted

   in a familiarity with the evidence and testimony necessary for the successful prosecution of cases such

   as this one. Indeed, one court has expressly noted that Cormier’s counsel from Bruckner Burch are

   “among the most experienced and best regarded in this specialized practice area.” Kurgan v.

   Chiro One Wellness Ctrs., LLC, No. 10-CV-1899, 2015 WL 1850599, at *4 (N.D. Ill. Apr. 21, 2015)

   (emphasis added). In all, Class Counsel have secured millions of dollars in settlements in FLSA cases

   for their clients. Further, Class Counsel’s acceptance of this case (factor 4) and the considerable time

   that it has taken to work this case have occupied time that they could have spent pursuing other

   matters.

           Finally, “the most critical factor in determining a fee award is the degree of success obtained”

   (factor 8). Singer v. City of Waco, Tex., 324 F.3d 813, 829 (5th Cir. 2003). The degree of success here is

   high because Defendants vigorously contested Plaintiffs’ claims and denied that Plaintiffs were

   improperly paid, underpaid, or that any alleged damages were owed or covered by insurance. Plaintiffs

   had to litigate this matter for over three years before the matter could be settled.

           For these reasons, Plaintiffs believe a fee of 40% is reasonable and necessary in this case. Class

   Counsel also seek reimbursement of the litigation expenses that they advanced or otherwise incurred

   in this case. Class Counsel request reimbursement of their expenses in the amount agreed by the

   Parties and provided in the Confidential Settlement Agreement.

           4.      Plaintiffs’ fees are part of the settlement agreement between the Parties.

           As part of the Confidential Settlement Agreement, the Parties have agreed that Plaintiffs’

   counsel are entitled to a total of 40% of the gross settlement amount. The Parties have presented this

   agreement to the Court for approval. See Evans v. Jeff D., 475 U.S. 717, 726-27 (1986) (“[T]he power to



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   approve or reject a settlement negotiated by the parties before trial does not authorize the court to

   require the parties to accept a settlement to which they have not agreed.”); Klier v. Elf Atochem N. Am.,

   Inc., 658 F.3d 468, 475 (5th Cir. 2011) (“[T]he court cannot modify the bargained-for terms of the

   [class-action] settlement agreement.”); In re Oil Spill by Oil Rig “Deepwater Horizon” in the Gulf of Mexico,

   on April 20, 2010, 910 F. Supp. 2d 891, 944 (E.D. La. 2012) (“[T]he Court is not authorized to insist

   upon changes that, in its judgment, might lead to a superior settlement.”), aff'd sub nom. In re Deepwater

   Horizon, 739 F.3d 790 (5th Cir. 2014); Blanchard v. Forrest, CIV. A. 93-3780, 1996 WL 28526, at *3 (E.D.

   La. Jan. 23, 1996) (overruling magistrate judge’s modification of consent judgment because courts lack

   authority to modify a settlement agreement).

           Because Plaintiffs have made the amount and provisions regarding payment of their attorneys’

   fees an unseverable part of their agreement with Defendants, a rejection of this (or another) portion

   of their settlement agreement will result in a failure of the Parties’ agreement, a return of funds to

   Defendants, and the resumption of litigation.

   C.      CONCLUSION.

           The Parties request that the Court approve the Confidential Settlement Agreement as a

   “reasonable compromise” of this dispute and have submitted a proposed Order Approving Settlement

   contemporaneously with the filing of this motion.

                                                     Respectfully submitted,


     /s/ Richard J. (Rex) Burch                            /s/ James M. Garner
    Richard J. (Rex) Burch (admitted pro hac vice)        Joseph K. West (La. Bar No. 18041)
    Bruckner Burch PLLC                                   DUANE MORRIS LLP
    8 Greenway Plaza, Suite 1500                          505 9th Street, N.W., Suite 1000
    Houston, Texas 77046                                  Washington, DC 20004
    Telephone:      (713) 877-8788                        Telephone:       (202) 776-7806
    Facsimile:      (713) 877-8065                        Facsimile:       (202) 478-2676
    Email:          rburch@brucknerburch.com              Email:           JKWest@duanemorris.com

    – and –                                               Charlotte E. Thomas (admitted pro hac vice)
                                                          DUANE MORRIS LLP


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    Kenneth W. DeJean (La. Bar No. 4817)                 30 South 17th Street
    LAW OFFICES OF KENNETH W. DEJEAN                     Philadelphia, PA 19103-4196
    417 W. University Avenue (70506)                     Telephone:      (215) 979-1000
    Post Office Box 4325                                 Email:          cthomas@duanemorris.com
    Lafayette, Louisiana 70502
    Telephone:      (337) 235-5294                       – and –
    Facsimile:      (337) 235-1095
    Email:          kwdejean@kwdejean.com        James M. Garner (La. Bar No. 19589)
                                                 Leopold Z. Sher (La. Bar No. 12014)
    – and –                                      Joshua S. Force (La. Bar No. 21975)
                                                 Ashely G. Coker (La. Bar No. 30446)
    Michael A. Josephson (admitted pro hac vice) SHER GARNER CAHILL RICHTER
    Andrew Dunlap (admitted pro hac vice)          KLEIN & HILBERT, L.L.C.
    JOSEPHSON DUNLAP LAW FIRM                    909 Poydras Street, Twenty-Eighth Floor
    11 Greenway Plaza, Suite 3050                New Orleans, Louisiana 70112
    Houston, Texas 77046                         Telephone:        (504) 299-2100
    Telephone:        (713) 352-1100             Facsimile:        (504) 299-2300
    Facsimile:        (713) 751-3300             Email:            jgarner@shergarner.com
    Email:            mjosephson@mybackwages.com                   lsher@shergarner.com
                      adunlap@mybackwages.com                      jforce@shergarner.com
                                                                   acoker@shergarner.com
    Attorneys for Plaintiffs Cormier, et al.
                                                 Attorneys for Defendant Scottsdale Insurance Co.


     /s/ Lindsay L. Meador                                /s/ Joel P. Babineaux
    Lindsay L. Meador (La. Bar No. 31261)                Joel P. Babineaux (La. Bar No. 21455)
    GALLOWAY, JOHNSON, TOMPKINS,                         Karen T. Bordelon (La. Bar No. 20114)
    BURR                                                 BABINEAUX, POCHÉ, ANTHONY
      & SMITH                                              & SLAVICH, L.L.C.
    328 Settlers Trace Boulevard                         Post Office Box 52169
    Lafayette, Louisiana 70508                           Lafayette, Louisiana 70505
    Telephone:      (337) 735-1760                       Telephone:      (337) 984-2505
    Facsimile:      (337) 993-0933                       Facsimile:      (337) 984-2503
    Email:          lmeador@gallowayjohnson.com          Email:          jbabineaux@bpasfirm.com
                                                                         kbordelon@bpasfirm.com
    Attorneys for Defendants Turnkey Cleaning Services
    LLC and Turnkey Cleaning Services GOM LLC          Attorneys for Defendant Dale P. Martin, Jr.




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                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that, on October 19, 2018, I electronically filed the foregoing

   document with the Clerk of Court using the CM/ECF system, which will send a Notice of Electronic

   Filing to all counsel of record who have registered to receive electronic service, and I effected service

   upon all other counsel of record via United States Mail, postage prepaid and properly addressed.

                                                    /s/ James M. Garner
                                                   JAMES M. GARNER




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